       Case 2:10-cr-00035-MCE Document 91 Filed 04/18/12 Page 1 of 2


1    J. Toney
     Attorney at Law
2    State Bar No. 43143
3    P.O. Box 1515
     Woodland, California 95776
4    (530) 666-1908
     yoloconflict@aol.com
5
     Attorney for Derrick Stampley
6
7                      IN THE UNITED STATES DISTRICT COURT
8                     FOR THE EASTERN DISTRICT OF CALIFORNIA
9    UNITED STATES OF AMERICA,                ) 2:10-cr-00035-MCE
                                              )
10             Plaintiff,                     ) STIPULATION AND ORDER
                                              ) CONTINUING SENTENCING
11      v.                                    ) (CORRECTED)
                                              ) May 10, 2012 at 9:00 AM
12   DERRICK STAMPLEY                         ) before
             Defendant                        ) Judge England
13   ______________________________           )
14
15           This matter is now set for Sentencing on May 3, 2012 pursuant
16   to a stipulation and order submitted by the Defendant.            Due to an
17   error by the attorney for Mr. Stampley, the stipulation was
18   incorrect.    The proper date for which all parties are available is
19   May 10, 2012.    Counsel for Mr Stampley apologizes for the error.
20   The parties now stipulate the sentencing be continued to May 10,
21   2012 and request the Court so order.
22   Respectfully submitted.
23
24   Dated:    April 16, 2012
25                                              /s/ JASON HITT
                                                  Jason Hitt
26                                            Assistant U.S. Attorney
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28                                        1
      Case 2:10-cr-00035-MCE Document 91 Filed 04/18/12 Page 2 of 2


1                                               /s/ J TONEY
                                                  J Toney
2                                            Attorney for Derrick Stampley
3
4        IT IS SO ORDERED.
5
     Dated: April 17, 2012
6
7                                      _____________________________
                                       MORRISON C. ENGLAND, JR.
8
                                       UNITED STATES DISTRICT JUDGE
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